           Case 1:16-vv-00735-UNJ Document 42 Filed 12/08/17 Page 1 of 4




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0735V
                                      Filed: April 26, 2017
                                         UNPUBLISHED

****************************
KEVEN OTTENI,                         *
                                      *
                   Petitioner,        *      Damages Decision Based on Proffer;
v.                                    *      Influenza (“Flu”) Vaccine; Shoulder
                                      *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                   *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                   *      (“SPU”)
                                      *
                   Respondent.        *
                                      *
****************************
Leah V. Durant, Law Offices, Washington, DC, for petitioner.
Mallori B. Openchowski, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On June 22, 2016, Keven Otteni (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine that was
administered to his left shoulder on October 25, 2015. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On November 3, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On April 26, 2017, respondent filed a proffer on
award of compensation (“Proffer”) indicating petitioner should be awarded $172,374.91.
Proffer at 1. In the Proffer, respondent represented that petitioner agrees with the


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-00735-UNJ Document 42 Filed 12/08/17 Page 2 of 4



proffered award. Based on the record as a whole, the undersigned finds that petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $172,374.91, in the form of a check payable to
petitioner, Kevin Otteni. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
            Case 1:16-vv-00735-UNJ Document 42 Filed 12/08/17 Page 3 of 4



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


    KEVIN OTTENI,                 )
                                  )
              Petitioner,         )
    v.                            )                    No. 16-735V
                                  )                    Chief Special Master Dorsey
    SECRETARY OF HEALTH AND HUMAN )                    ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On November 3, 2016, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation for his Shoulder Injury Related to

Vaccine Administration (“SIRVA”). Based on the evidence of record, respondent proffers that

petitioner should be awarded $172,374.91. This amount represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $172,374.91, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
        Case 1:16-vv-00735-UNJ Document 42 Filed 12/08/17 Page 4 of 4



                                         Respectfully submitted,

                                         CHAD A. READLER
                                         Acting Assistant Attorney General

                                         C. SALVATORE D’ALESSIO
                                         Acting Director
                                         Torts Branch, Civil Division

                                         CATHARINE E. REEVES
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         TRACI R. PATTON
                                         Senior Trial Attorney
                                         Torts Branch, Civil Division

                                         s/ Mallori B. Openchowski
                                         MALLORI B. OPENCHOWSKI
                                         Trial Attorney
                                         Torts Branch, Civil Division
                                         U.S. Department of Justice
                                         P.O. Box 146, Ben Franklin Station
                                         Washington, DC 20044-0146
                                         Tel.: (202) 305-0660


DATED: April 26, 2017
